142 F.3d 444
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Jose Domingo PAGARAGAN, Petitioner,v.Immigration and Naturalization Service, Respondent.
    No. 96-71117.INS No. Asc-hnk-hxe.
    United States Court of Appeals,Ninth Circuit.
    .Submitted April 20, 19982.Decided April 28, 1998.
    
      On Petition for Review of an Order of the Board of Immigration Appeals.
      Before BRUNETTI, RYMER, and T.G. NELSON, Circuit Judges.
    
    MEMORANDUM1
    
      1
      Jose Domingo Paragaran, a native and citizen of the Philippines, petitions for review of the Board of Immigration Appeals' dismissal of his appeal from an immigration judge's decision denying his application for suspension of deportation.  Because the BIA's final order of deportation was entered after October 30, 1996, the transitional rules of the Illegal Immigration Reform and Immigrant Responsibility Act of 1996 ("IIRIRA") apply.  See Kalaw v. INS, 133 F.3d 147, 1150 (9th Cir.1997).  Under IIRIRA § 309(c)(4)(E), we lack jurisdiction to review the BIA's discretionary determination that Ortiz failed to establish extreme hardship.  See id. at 1152.  Accordingly, we dismiss the petition for review.
    
    
      2
      PETITION FOR REVIEW DISMISSED.
    
    
      
        2
         The panel unanimously finds this case suitable for decision without oral argument.  See Fed.  R.App. P. 34(a);  9th Cir.  R. 34-4
      
      
        1
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.  R. 36-3
      
    
    